AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                    __________        of North
                                                                 District      Carolina
                                                                          of __________

                   RHONDA BRANTLEY,                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 5:23-cv-543
                                                                     )
  WAKEMED; JASON JONES, individually; KEITH                          )
 OLIVER, individually, and JOHN DOE a/k/a "DREW                      )
                SMITH", individually                                 )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Drew Smith
                                           3000 New Bern Avenue
                                           Raleigh, NC 27610




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Aliyah S. Adams and Dawn T. Mistretta
                                           Green Mistretta Law, PLLC
                                           1752 Heritage Center Drive, Suite 101
                                           Wake Forest, NC 27587



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:       10/11/2023
                                                                                          Signature of Clerk or Deputy Clerk




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 Civil Action No. 5:23-cv-543

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Eastern District
                                                    __________        of North
                                                                 District      Carolina
                                                                          of __________

                   RHONDA BRANTLEY,                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 5:23-cv-543
                                                                      )
  WAKEMED; JASON JONES, individually; KEITH                           )
 OLIVER, individually, and JOHN DOE a/k/a "DREW                       )
                SMITH", individually,                                 )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Keith Oliver
                                           8809 Stockbridge Cir., Apt. 101
                                           Raleigh, NC 27615




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Aliyah S. Adams and Dawn T. Mistretta
                                           Green Mistretta Law, PLLC
                                           1752 Heritage Center Drive, Suite 101
                                           Wake Forest, NC 27587



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:     10/11/2023
                                                                                           Signature of Clerk or Deputy Clerk




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 Civil Action No. 5:23-cv-543

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                     Eastern District
                                                    __________        of North
                                                                 District      Carolina
                                                                          of __________

                   RHONDA BRANTLEY,                                    )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 5:23-cv-543
                                                                       )
  WAKEMED; JASON JONES, individually; KEITH                            )
 OLIVER, individually, and JOHN DOE a/k/a "DREW                        )
                SMITH", individually,                                  )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jason Jones
                                           300 Steedmont Dr.
                                           Holly Springs, NC 27540




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Aliyah S. Adams and Dawn T. Mistretta
                                           Green Mistretta Law, PLLC
                                           1752 Heritage Center Drive, Suite 101
                                           Wake Forest, NC 27587



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:       10/11/2023
                                                                                            Signature of Clerk or Deputy Clerk




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 Civil Action No. 5:23-cv-543

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                    __________        of North
                                                                 District      Carolina
                                                                          of __________

                   RHONDA BRANTLEY                                    )
                                                                      )
                                                                      )
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                            Plaintiff(s)                              )
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                                v.                                           Civil Action No. 5:23-cv-543
                                                                      )
  WAKEMED; JASON JONES, individually; KEITH                           )
 OLIVER, individually, and JOHN DOE a/k/a "DREW                       )
                SMITH", individually                                  )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) WakeMed
                                           c/o Donald R. Gintzig, Registered Agent
                                           3000 New Bern Avenue
                                           Raleigh, NC 27610




          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                           Aliyah S. Adams and Dawn T. Mistretta
                                           Green Mistretta Law, PLLC
                                           1752 Heritage Center Drive, Suite 101
                                           Wake Forest, NC 27587



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                                                                                CLERK OF COURT


Date:      10/11/2023
                                                                                          Signature of Clerk or Deputy Clerk




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 Civil Action No. 5:23-cv-543

                                                     PROOF OF SERVICE
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           u I left the summons at the individual’s residence or usual place of abode with (name)
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           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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